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                 IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

In re:                                   )
                                         )
EDGEWATER MEDICAL CENTER                 )   Chapter 11
                                         )   Case No. 02 B 07378
                                Debtor.  )   Honorable Bruce W. Black
                                         )
EDGEWATER MEDICAL CENTER,                )
                                         )
                Plaintiff,               )   Adversary Proceeding No. 04 A 2327
                                         )
         v.                              )
                                         )
PETER G. ROGAN, BRADDOCK                 )
MANAGEMENT, L.P. a California limited    )
Partnership, BAINBRIDGE MANAGEMENT, )
LP, an Illinois limited partnership, and )
BAINBRIDGE MANAGEMENT, INC., an          )
Illinois corporation,                    )
                                         )
                Defendants.              )



    PLAINTIFF EDGEWATER MEDICAL CENTER'S REPLY MEMORANDUM IN
        FURTHER SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY
              JUDGMENT ON FORFEITURE OF COMPENSATION,
             ATTORNEYS' FEES AND PREJUDGMENT INTEREST
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         Edgewater Medical Center (“EMC”), by and through its undersigned attorneys,
respectfully submits this Reply Memorandum in Further Support of its Motion for Partial
Summary Judgment on Forfeiture of Compensation, Attorneys’ Fees and Prejudgment Interest.
This Reply Memorandum is filed against Braddock Management L.P. (“Braddock L.P.”), as well
as its general partner, Bainbridge Management, Inc. (“Bainbridge Inc.”), who this Court already
has held is jointly and severally liable for EMC’s claims against Braddock L.P. and Bainbridge
Management L.P. (“Bainbridge L.P.”). (See 4/6/05 Mem. Op.) (“Bainbridge Inc., as the general
partner of both Bainbridge L.P. and Braddock, is fully liable to EMC as a matter of law.”)1
              I.      PLAINTIFF IS NOT LIMITED TO CONTRACT REMEDIES.
         In their effort to avoid a damages judgment for breach of fiduciary duty, Defendants dust
off arguments that should properly have been included in their response to EMC’s motion for
summary judgment on liability, and make a scarecrow argument that the economic loss doctrine
bars recovery. Both lack merit. First, Defendants have waived the argument that EMC’s breach
of fiduciary duty claim should be dismissed as “duplicative” of its contract claim. (Response of
Defendant Bainbridge Inc. to Edgewater Medical Center’s Motion for Partial Summary
Judgment (“Damages Resp.”) at 11.) EMC having moved for summary judgment on liability for
both claims, and this Court having granted it without Defendants raising the issue, both waiver
and law of the case preclude its consideration now. Second, Defendants’ attempt to shoehorn a
breach of fiduciary duty claim into the “economic loss” doctrine evidences a gross
misunderstanding of that doctrine. (Damages Resp. at 12-17.) It is beyond doubt that the
economic loss doctrine applies only to tort claims, and Illinois courts have staunchly adhered to
the principle that breach of fiduciary duty is not a tort. The fact that the fiduciary duty in this
case arose from an agent/principal relationship created by contract is of no moment.
         A.        Defendants’ Argument that EMC’s Breach of Fiduciary Duty Claim Should
                   be Dismissed is Untimely and Precluded by the Law of the Case.
         In its Complaint, EMC stated claims for both breach of fiduciary duty and contract,
among others. (First Amended Complaint ¶¶ 118-23, 180-84.) Defendants did not move to

1
  Because Bainbridge L.P. filed for bankruptcy protection under Chapter 7 on September 28, 2005 in the Northern
District of Indiana, the automatic stay prevents EMC from proceeding directly against Bainbridge L.P. at this time.
Additionally, Defendants’ response – which is explicitly brought only in the name of Bainbridge Inc. – asserts that
Braddock L.P. did not file a response to EMC’s summary judgment motion because it was “dissolved by the
California Secretary of State” on November 1, 2004, and therefore “no longer exists.” (Damages Resp. at 1.)
However, as discussed infra at Section IV, Braddock L.P. should be held liable either, because it was obligated to
respond and its failure to do so constitutes waiver, or because Bainbridge L.P. purports to “speak” on its behalf.


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dismiss either claim. EMC then moved for summary judgment on both claims. (Memorandum
in Support of Partial Summary Judgment (“Liability Mem.”) at 13-19.) In their Opposition,
Defendants nowhere argued, as they do now, that summary judgment on the breach of fiduciary
duty claim should have been denied because it is somehow “duplicative” of EMC’s contract
claim. This Court granted EMC’s motion for summary judgment on both claims. (4/6/05 Mem.
Op. at 17.) Now, with the amount of damages they shall pay the only issue remaining,
Defendants want a clean slate, and essentially move to dismiss the breach of fiduciary duty
claim. However, arguments on the merits not raised in response to a motion for summary
judgment are waived. Laborers’ Int’l Union of N. Am. v. Caruso, 197 F.3d 1195, 1197 (7th Cir.
1999) (party not raising legal arguments on the merits in response to a motion for summary
judgment waives those arguments); Arendt v. Vetta Sports, Inc., 99 F.3d 231, 237 (7th Cir. 1996)
(same); Blakely v. Brach & Brock Confections, Inc., 181 F. Supp. 2d 943, 950-951 (N.D. Ill.
2002) (same).
       Not only have Defendants waived this argument, but that the two causes of action can co-
exist is now the law of the case. “[T]he doctrine of law of the case establishes a presumption that
a ruling made at one stage of a lawsuit will be adhered to throughout the suit.” Avitia v. Metro.
Club, 49 F.3d 1219, 1227 (7th Cir. 1995); see also Donohoe v. Consol. Operating & Prod.
Corp., 30 F.3d 907, 910 (7th Cir. 1994) (“[W]hen a court decides upon a rule of law, that
decision should continue to govern the same issues in subsequent stages in the same case.”). In
its liability ruling, this Court entered judgment on both claims as a matter of law, necessarily
contemplating that there was no legal bar to both going forward. That Defendants chose not to
make the argument previously does not preclude application of the doctrine: “The twin goals of
[the law of the case] are to ensure that the parties marshal all of their facts and arguments so that
a dispute may be resolved in one pass, and to conserve judicial resources. Treating new
arguments as grounds for a second decision would contradict both rationales and in practical
effect abandon the doctrine.” Peoples v. United States, 403 F.3d 844, 846-847 (7th Cir. 2005).
       Although earlier rulings are not enshrined, “as a rule courts should be loathe to [revisit
them] in the absence of extraordinary circumstances such as where the initial decision was
‘clearly erroneous and would work a manifest injustice.’” Payne v. Churchich, 161 F.3d 1030,
1037 n.8 (7th Cir. 1998) (quoting Christianson v. Colt Indus. Operating Corp., 486 U.S. 800
(1988)); see also Donohoe, 30 F.3d at 910; Pearson v. Edgar, 1999 U.S. Dist. LEXIS 4388, at *9



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(N.D. Ill. Mar. 22, 1999). Defendants do not even address the clear error or manifest injustice
standards. Instead, they blithely ignore this Court’s grant of summary judgment and cite
inapposite cases, all of which assess the sufficiency of fiduciary duty claims at the motion to
dismiss stage. (Damages Resp. at 11) (citing Majumdar v. Lurie, 653 N.E.2d 915 (Ill. App. Ct.
1995); Metrick v. Chatz, 639 N.E.2d 198 (Ill. App. Ct. 1994); Kirkland & Ellis v. CMI Corp.,
1996 U.S. Dist LEXIS 14346 (N.D. Ill. Sept. 29, 1996); and Calderon v. Southwestern Bell
Mobile Sys., 2003 U.S. Dist. LEXIS 18257 (N.D. Ill. October 10, 2003).) Not only has this
Court already held that EMC adequately pled a breach of fiduciary duty, it has granted EMC
summary judgment on this claim.
       Moreover, none of the four cases Defendants cite – tellingly, without discussion or even
parenthetical – stands for the proposition that a breach of fiduciary duty claim is trumped by a
contract claim when they arise from the same operative facts. To the contrary, the parties whose
claims were dismissed in Majumdar, 653 N.E.2d at 920-21, Metrick, 639 N.E.2d at 203, and
Kirkland & Ellis, 1996 U.S. Dist LEXIS 14346, at *24-25, did not even assert contract claims.
In Calderon, 2003 U.S. Dist. LEXIS 18257, the contract claim was dismissed along with the
breach of fiduciary duty claim. Clearly, therefore, neither claim in Calderon trumped the other.
       B.      The Economic Loss Doctrine Does Not Apply.
       Defendants next attempt to avoid EMC’s breach of fiduciary duty claim by raising the
smokescreen of the economic loss doctrine. However, that doctrine applies to preclude only tort,
not fiduciary duty claims. Nor is EMC’s breach of fiduciary duty claim brought within that
doctrine by virtue of the fact that the duty arose from an agent/principal relationship created by
contract; courts routinely allow recovery for breaches of fiduciary duties having their roots in
contractual obligations.
               1.      The Economic Loss Doctrine Bars Tort Claims, Not Breach of
                       Fiduciary Duty Claims.
       The economic loss doctrine, often referred to as the Moorman doctrine after the seminal
Illinois decision adopting it, originated in product liability cases. As originally conceived, it
prevented plaintiffs who suffered a purely economic loss from defective goods, as opposed to
personal injury or property damage, from recovering on the tort theories of strict liability,
negligence, and innocent misrepresentation. See, e.g., Moorman Mfg. Co. v. Nat’l Tank Co., 435
N.E.2d 443 (Ill. 1982) (adopting economic loss rule to bar a tort suit against a manufacturer of a
defective grain storage tank). Moorman’s rationale was that the Uniform Commercial Code


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(“UCC”) provided the appropriate remedy for purely economic losses, and would be supplanted
were tort suits allowed to go forward even in the absence of physical injury or property damage.
See, e.g., id. at 78-80, 88; Mut. Serv. Cas. Ins. Co. v. Elizabeth State Bank, 265 F.3d 601, 617
(7th Cir. 2001) (reviewing and relying in part upon the UCC rationale for the economic loss
doctrine).
        The doctrine has since been loosened from its product liability moorings, and is now
applied to torts in other contexts, including, inter alia, suits involving services provided pursuant
to contract. See, e.g., Congregation of the Passion, Holy Cross Province v. Touche Ross & Co.,
636 N.E.2d 503, 513-515 (Ill. 1994) (observing that the doctrine had been extended to preclude
some torts based on service contracts, but declining to apply it to a negligence claim against an
accountant.) Defendants, however, seek to expand the theory beyond any decision of an Illinois
court and propose, with no accompanying rationale, applying the doctrine to a whole new area of
law – breach of fiduciary duty claims. But since its origin, the economic loss doctrine has been
applied to limit tort claims, not fiduciary duty claims, as the cases Defendants cite, and even the
very passages they quote, demonstrate. (Damages Resp. at 12.)2 The Northern District of
Illinois has stated this fundamental point: “the economic loss doctrine prohibits recovery on the
basis of tort law only.” Aaron Transfer & Storage v. Bekins Van Lines, 2002 U.S. Dist. LEXIS
21789, at *5 (N.D. Ill. Nov. 12, 2002); see also American United Logistics, Inc. v. Catellus Dev.
Corp., 319 F.3d 921, 926 (7th Cir. 2003) (economic loss doctrine is concerned with recovery in
tort); Fireman's Fund Ins. Co. v. SEC Donohue, Inc., 176 Ill. 2d 160, 163 (Ill. 1997) (same).
        Since breach of fiduciary duty is not a tort, the economic loss doctrine does not apply to a
breach of fiduciary duty claim. See Kinzer v. City of Chicago, 128 Ill. 2d 437, 445 (Ill. 1989)
(“This court has not accepted the Restatement (Second) of Torts view but has regarded breach of
fiduciary duty as controlled by the substantive laws of agency, contract . . . and equity.”)
(citations omitted); Bank One, N.A. v. Borse, 351 Ill. App. 3d 482, 488 (Ill. App. Ct. 2004)
(same); Ha-Lo Indus. v. Kelly, 2004 Bankr. LEXIS 8, at *4 (Bankr. N.D. Ill. Jan. 5, 2004)
(same). This is not a novel syllogism; numerous courts have arrived at the same conclusion,
refusing to apply the economic loss doctrine to breach of fiduciary duty claims. See, e.g.,
Monarch Gems v. Malca-Amit USA, L.L.C., 2005 U.S. Dist. LEXIS 9971, at *6 (N.D. Ill. May 4,

2
 Even All-Tech Telecom, Inc. v. Amway Corp., 174 F.3d 862, 865 (7th Cir. 1999), which, as Defendants fail to note,
applies Wisconsin rather than Illinois law, observed that the economic loss doctrine grew out of the fear that
“duplicative tort remedies would undermine contract law.” (emphasis added)


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2005) (“According to the plaintiffs, because their negligence claim is predicated on a breach of
fiduciary duty, the economic loss doctrine is inapplicable. The court agrees.”); Aaron Transfer,
2002 U.S. Dist. LEXIS 21789, at *5 (“[T]o the extent that defendant is asserting counterclaims
on the basis of breach of fiduciary duty, rather than contract, such claims would not be barred by
the economic loss doctrine.”).3
                   2.       Fiduciary Duty Claims Are Not Barred By the Economic
                            Loss Doctrine Even Where the Duty Arises From Contractual
                            Obligations.
         Defendants even concede that fiduciary duty claims are not barred by the economic loss
doctrine. (Damages Resp. at 13.) Their only response to this well-settled point of law is to argue
that where a fiduciary duty is premised upon a contractual relationship, the economic loss
doctrine is nevertheless triggered. (Damages Resp. at 3-4, 14-17.) Such would be an illogical
result, and has no support in the case law. A fiduciary duty that has its underpinnings in contract
is not thereby transmogrified into a tort. Nor have Defendants cited a single Illinois case among
the multitudes invoking the economic loss doctrine which holds that the doctrine applies to
fiduciary duty claims where the fiduciary duty arises from a contractual relationship.4 Instead,
Defendants tie themselves into knots trying to argue that two cases they are forced to
acknowledge refused to apply the economic loss doctrine to fiduciary duty claims somehow
require its application in the present case. (Damages Resp. at 14-16 (discussing FDIC v. Miller,
781 F. Supp. 1271 (N.D. Ill. 1991), and Choi v. Chase Manhattan Mortg. Co., 63 F. Supp. 2d
874 (N.D. Ill. 1999)).) Neither case stands for the proposition that fiduciary duties arising from
contractual relationships may not be the basis of recovery. Miller allowed claims for both breach

3
  See also Inter-Asset Finanz Ag, v. Refco, Inc., 1993 U.S. Dist. LEXIS 8418, at *7 (N.D. Ill. June 21, 1993) (“There
is no indication that a service relationship involving fiduciary and agency duties would come under the Moorman
doctrine.”); Forsythe v. Polsky, 1993 U.S. Dist. LEXIS 3125, at *22 (N.D. Ill. March 11, 1993) (“[I]nsofar as
[plaintiff’s] ‘negligence’ count is actually premised on a breach of fiduciary duty claim, it will not be dismissed”
under the economic loss doctrine).
4
  That courts distinguish between tort claims and fiduciary duty claims in applying the economic loss doctrine is no
accident. As one scholar has reasoned,
          Application of the [economic loss doctrine] to bar breach of fiduciary duty claims erodes the higher
          standard of loyalty and care that one traditionally associates with a fiduciary relationship. Barring claims
          for breach of fiduciary duty does not encourage the utmost fairness by a fiduciary, nor does it discourage
          overreaching by a fiduciary. A fiduciary relationship is, by definition, an unequal one in that the fiduciary
          is, in some sense, the superior of his charge. In this light, relegating a victim of a breach of fiduciary duty to
          an “arm's length,” “bargained for” remedy infers that a fiduciary relationship has no special meaning to
          society.
Amanda K. Esquibel, The Economic Loss Rule and Fiduciary Duty Claims: Nothing Stricter Than The Morals of the
Marketplace?, 42 Vill. L. Rev. 789, 841 (1997) (footnote omitted).


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of fiduciary duty and breach of contract to proceed, stating that, while “fiduciary duties may
coexist with contractual duties, the two are distinct and impose separate, independent
obligations.” Miller, 781 F. Supp. at 1277. Choi also allowed a breach of fiduciary duty claim
to go forward; Defendants’ tortured discussion of this case misses the point entirely. Choi, 63 F.
Supp. 2d at 886. The issue the Choi court contemplated in the paragraphs Defendants quote was
not whether a breach of fiduciary duty claim arising from a contractual relationship could
proceed despite the economic loss doctrine, but whether there was any fiduciary duty at all, as
opposed to an implied contractual duty. Id. at 885-86.5 Here, in stark contrast, this Court has
already ruled that Defendants owed EMC a fiduciary duty. (4/6/05 Mem. Op. at 9.)6
        Moreover, in their attempt to fit the present case into a rule they unsoundly derive from
Miller and Choi, Defendants again attempt to raise arguments they have long since waived, and
which contradict the established facts of this case. Defendants now argue, for the first time, that
“the only source of the fiduciary duty is affirmative imposition of that duty in the agreed-upon
language of the Management Agreements,” referring to a fiduciary duty clause in the
Management Agreements. (Damages Resp. at 14; see also id. at 17 n.4) But, of course, the
appropriate time to have made this argument would have been in response to Plaintiff’s explicit
argument in their summary judgment motion for liability that:
        Independent of the fiduciary duty provisions of the Management Agreements,
        [Defendants] also owed fiduciary duties to EMC as EMC’s agents. Under Illinois law, it
        is well established that where “one voluntarily acts as an agent for another, as
        [defendants] did here, ‘a fiduciary relationship exists as a matter of law.’”

(Liability Mem. at 13 (emphasis added, citations omitted).) Instead, as this Court observed,
Defendants conceded in their Response to EMC’s motion for summary judgment on liability that
they had breached their fiduciary duty to EMC. (4/6/05 Mem. Op. at 9.) Having chosen to hang
fire, they have waived the argument that the fiduciary clauses in the Management Agreements
were the sole source of Defendants’ fiduciary duty to EMC. See, e.g., Caruso, 197 F.3d at 1197
(arguments not raised in response to a motion for summary judgment are waived). Moreover,
apart from this belated naked assertion, Defendants have never challenged EMC’s argument,

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  While the court concluded that plaintiffs had pled the existence of a bank’s duty to manage an escrow account with
due care, it was unsure whether the duty should be an implied contract term, or a duty separately arising from the
nature of the parties’ relationship. Id.
6
  Nor does Congregation of the Passion, 636 N.E.2d 503, advance Defendants’ argument on this point in any way.
(Damages Resp. at 14.) That case was concerned with tort duties, not fiduciary duties.


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made both in its Liability and Damages Motions, that the duties Defendants assumed in the
Management Agreements made them agents of EMC, thereby giving rise to a fiduciary duty as a
matter of law irrespective of the specific mention of a fiduciary obligation in the contracts. (See
Liability Mem. at 13-14; Damages Mem. at 7-10); see also Letsos v. Century 21-New West
Realty, 675 N.E. 2d 217, 224 (Ill. App. Ct. 1996)(“Once an agency relationship is found, a
fiduciary relationship arises as a matter of law.”); Kurtz v. Solomon, 656 N.E. 2d 184, 190 (Ill.
App. Ct. 1995) (same).
         That the agent/principal relationship – and thus the corresponding fiduciary duty – was
established by way of written agreement is of no moment. It does not trigger the economic loss
doctrine, as courts expressly have held. See, e.g., Ploog v. HomeSide Lending, Inc., 209 F. Supp.
2d 863, 875 (N.D. Ill. 2002) (Moorman doctrine inapplicable to breach of fiduciary duty claim
where a “mortgage contract gave rise to a fiduciary relationship” between plaintiff and
defendant); Illinois Constructors Corp. v. Morency & Assocs., Inc., 802 F. Supp. 185, 188, 190
(N.D. Ill. 1992) (Moorman doctrine inapplicable to fiduciary duty claim where duty arose from
contract between insurance broker and insured); St. Paul Fire & Marine Ins. Co. v. Great Lakes
Turnings, Ltd., 774 F. Supp. 485, 490 (N.D. Ill. 1991) (same). Notably, here, as in Aaron
Transfer & Storage, the parties set forth an agency relationship in a contract which explicitly
referred to a “fiduciary relationship.” 2002 U.S. Dist. LEXIS 21789, at *1. Applying the
principles outlined above, the Northern District of Illinois reasoned that even if a counterclaim
asserted a breach of fiduciary duty “rather than contract [claim], such claims would not be barred
by the economic loss doctrine” because “[i]n Illinois, claims for breach of fiduciary duty are
rooted in the substantive laws of agency, contract and equity, rather than tort.” Id. at *5. The
economic loss doctrine thus has no bearing on this case.7




7
  Even if EMC’s fiduciary duty claim were within the general ambit of the economic loss doctrine, an exception to
that doctrine operates to exclude it. Since its origin, the economic loss doctrine has never applied to claims for
“fraud or intentional misrepresentation.” Tolan & Son, Inc. v. KLLM Architects, Inc., 719 N.E. 2d 288, 291 (Ill.
App. Ct. 1999); see also Moorman, 435 N.E.2d at 88-89. Because EMC’s fiduciary duty claim is premised upon
Defendants’ fraudulent conduct, this same exception should apply. See, e.g., Cumis Ins. Soc'y v. Peters, 983 F.
Supp. 787, 792 (N.D. Ill. 1997) (plaintiff was not barred from recovering economic losses where it alleged “that
defendants intentionally made false representations”); Kingsford Fastener, Inc. v. Hitachi Koki, U.S.A., Ltd., 2002
U.S. Dist. LEXIS 8657, at *8 (N.D. Ill. May 15, 2002) (declining to apply the doctrine to claims for fraud and
intentional misrepresentation because they “fall squarely within the exception to the Economic Loss Rule for
fraud”).


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II.      DEFENDANTS’ WILLFUL AND DELIBERATE BREACH OF FIDUCIARY
         DUTY REQUIRES COMPLETE FORFEITURE OF ALL COMPENSATION
         PAID TO DEFENDANTS DURING THE PERIOD IN WHICH THEY USED
         EMC AS A VEHICLE TO COMMIT MEDICARE FRAUD.
         In a further attempt to avoid summary judgment, Defendants contend that, even if EMC
is not limited to contract damages, forfeiture of all amounts paid under the Management
Agreements is not a proper remedy for Defendants’ breach of fiduciary duty. (Damages Resp. at
4, 17-22.) Defendants raise a number of cursory and unsupported arguments in this regard, but
as demonstrated below, none of them provide a basis for denying complete forfeiture here.
         A.       A Willful and Deliberate Breach of Fiduciary Duty Requires Complete
                  Forfeiture.
         As an initial matter, Defendants assert that the appropriate remedy for breach of fiduciary
duty is within the equitable discretion of the court and accuse EMC of contradicting “clear
Illinois Supreme [Court] precedent in arguing that forfeiture of all compensation is required
anytime a party is found to have breached his fiduciary duty.” (Damages Resp. at 4, 17-18.)
That accusation fundamentally distorts EMC’s position. EMC never has argued that complete
forfeiture is required anytime a party is found to have breached a fiduciary duty, no matter how
de minimis that breach. Rather, as EMC clearly stated in its opening brief, “Illinois law permits a
complete forfeiture of all compensation an agent receives from its principal during a time when
the agent breaches his fiduciary duty to the principal,” but “[a]s a matter of public policy, a
willful and deliberate breach of fiduciary duty requires complete forfeiture of all compensation
during the period of the breach.” (Damages Mem. at 7.)8 Defendants simply ignore this critical
distinction between an ordinary breach of fiduciary duty, for which complete forfeiture is
discretionary, and a willful and deliberate breach of fiduciary duty (which is present here), for
which complete forfeiture is required.
         In re Marriage of Pagano, 607 N.E.2d 1242 (Ill. 1992), the primary case upon which
Defendants purport to rely, does not hold to the contrary. The Pagano court merely recognized
that, “[w]hile the breach may be so egregious as to require the forfeiture of compensation by the

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  Notably, a number of courts in Illinois have stated that a breach of fiduciary duty requires complete forfeiture
without any discussion of the “willful and deliberate” element. See, e.g., Black v. Hollinger Int’l, Inc., 2004 WL
2496590, at *2 (N.D. Ill. Nov. 3, 2004) (“Under Illinois law, it is well established that ‘employees who breach their
fiduciary duties are required to forfeit all compensation received during the period of the breach.’”) (quoting Archer
Daniels Midland Co. v. Whitacre, 60 F. Supp. 2d 819, 824 (C.D. Ill. 1999)). Nevertheless, EMC has never argued
that complete forfeiture is required (as opposed to permissible) absent a willful and deliberate breach of fiduciary
duty.


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fiduciary as a matter of public policy, such will not always be the case.” Id. at 1250. EMC has
never argued otherwise. Furthermore, the Pagano court did not have occasion to grant complete
forfeiture because the court affirmed the lower court’s finding that plaintiff failed to establish
any breach of fiduciary duty by her former counsel. See id. at 1248-49. Thus, although the
appropriate remedy for an agent’s breach of fiduciary duty generally is within the equitable
discretion of the court, “complete forfeiture of all compensation [received] during the period of
the breach” is required where a plaintiff can show a “willful and deliberate breach of fiduciary
duty.” LID Assocs. v. Dolan, 756 N.E.2d 866, 886 (Ill. App. Ct. 2001); see also Stopka v.
Alliance of Am. Ins., 1996 WL 494269, at *5 (N.D. Ill. Aug. 27, 1996); ABC Trans Nat’l
Transp., Inc. v. Aeronautics Forwarders, Inc., 413 N.E.2d 1299, 1315 (Ill. App. Ct. 1980) (“As a
matter of public policy . . . one who breaches fiduciary duties has no entitlement to compensation
during a willful or deliberate course of conduct adverse to the principal’s interests.”).
       B.      Regardless of Whether Complete Forfeiture is Required or Discretionary,
               the Court Should Order Complete Forfeiture Based on the Willful and
               Deliberate Nature of Defendants’ Breach of Fiduciary Duty.
       As discussed above, where, as here, the plaintiff has proven a “willful and deliberate”
breach of fiduciary duty, complete forfeiture of all compensation received during the period of
the breach is required as a matter of public policy. See, e.g., LID Assocs., 756 N.E.2d at 886;
Stopka, 1996 WL 494269, at *5. But even assuming arguendo that complete forfeiture is not
strictly required, this Court nevertheless should exercise its discretion to grant complete
forfeiture in this case because the undisputed facts clearly demonstrate the willful and deliberate
nature of Defendants’ breach. See, e.g., Greyhound Fin. Corp. v. TSM Fin. Group, Inc., 1993
U.S. Dist. LEXIS 10873, at *4, 8, 12-13 (N.D. Ill. Aug. 5, 1993) (exercising “sound discretion”
to grant specific performance on summary judgment because specific performance would be “the
better and fairer” course of action); FTC v. Febre, 1996 U.S. Dist. LEXIS 14297, at *12 (N.D.
Ill. Sept. 27, 1996) (exercising “equitable power” to grant disgorgement to the U.S. Treasury
because it would “strip the wrongdoer of ill-gotten gains, thereby deterring future deception”);
Blocklinger v. Schlegel, 374 N.E.2d 491, 493-94 (Ill. App. Ct. 1978) (affirming grant of specific
performance on summary judgment where the basic underlying facts were not in dispute).




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               1.      Defendants Do Not Rebut Any of the Arguments in EMC’s Opening
                       Brief Demonstrating the Willful and Deliberate Nature of Defendants’
                       Breach.
       In its opening brief, EMC argued that this Court “already has decided that Defendants’
breach here was indeed willful and deliberate.” (Damages Mem. at 10.) Specifically, EMC
pointed out that, in its April 6, 2005 Memorandum Opinion, the Court determined that
Defendants’ guilty “pleas in the criminal case required an admission of guilt” that they
“knowingly and willfully executed a scheme to commit Medicare fraud” and that Defendants
guilty pleas conclusively “establish the fact that the [D]efendants used their position at EMC to
operate a scheme both in violation of the law and against the interests of EMC.” (Id.) (quoting
4/6/05 Mem. Op. at 8-9.) Defendants offer absolutely no response to this argument. As such,
Defendants have conceded the same. See Arendt, 99 F.3d at 237 (failure to respond to arguments
in response to summary judgment motion results in waiver); Buxton v. Equifax Credit Info.
Servs., Inc., 2003 WL 22844245, at *4 (N.D. Ill. Dec. 1, 2003) (plaintiff conceded defendant’s
argument by failing to address it in opposition to defendant’s motion for summary judgment);
Robinson v. Board of Educ. of City of Chicago, 1999 WL 1209493, at *6 (N.D. Ill. Feb. 4, 1999)
(plaintiff conceded argument by failing to provide a meaningful response to defendant’s
argument).
       But even apart from this Court’s prior ruling, EMC’s opening brief amply demonstrates
the willful and deliberate nature of Defendants’ breach via application of several common-sense
factors:
       (i.)    Willfulness of the Breach. Defendants knowingly and intentionally violated the
terms of the Management Agreements, which specifically required Defendants to perform their
duties in compliance with all applicable federal and state law and to use their best efforts and all
due diligence to ensure EMC maintained in good standing all necessary accreditations, licenses,
permits, and authorizations required for EMC’s ongoing operations. (Damages Mem. at 12.) By
knowingly committing health care fraud, Defendants ensured quite the opposite result; i.e., that
EMC would lose its accreditations, licenses, permits, etc., and ultimately have to close its door to
the public. And, of course, Defendants lacked any moral or other justification for their wrongful
actions. See, e.g., Restat. 2d of Agency, § 456 comment c (stating that a breach is considered
“willful and deliberate” when “the agent, in complete disregard of his contractual obligations,




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fails to perform or misperforms the promised services and has no substantial moral excuse for so
doing”).
       (ii)    Seriousness of the Violation. Defendants’ breach of fiduciary duty was extremely
serious insofar as it involved violations of federal criminal statutes and jeopardized the safety
and well-being of numerous EMC patients. (Damages Mem. at 12.)
       (iii)   Length of the Violation. Defendants’ breach was not an isolated occurrence, but
rather a continuing course of wrongful conduct spanning a period in excess of five years. (Id. at
13.)
       (iv)    Potential for and Actual Harm to the Principal. Defendants’ breach exposed EMC
to several obvious and serious risks, including the suspension of Medicare payments, potential
criminal liability under numerous federal criminal statutes, reputational harm for endangering
patients, and a myriad of expensive civil lawsuit. (Id.) And, as a result of Defendants’
fraudulent conduct, Medicare actually suspended payments to EMC and EMC actually was sued
in numerous medical malpractice lawsuits. (Id.)
       Significantly, Defendants do not dispute the relevance of these factors or, more
importantly, their application to the wrongdoing at issue here. Thus, based upon the application
of these factors, complete forfeiture is proper.
               2.      Defendants’ Arguments Against Complete Forfeiture Are Unavailing.
       Instead of responding to the facts and arguments in EMC’s opening brief establishing
forfeiture, Defendants assert a series of meritless arguments against forfeiture – a number of
which this Court already has rejected.
       First, Defendants contend that this Court has no factual basis upon which to assess the
fairness of complete forfeiture because “any assessment of that fairness would require an
assessment of the actual economic harm sustained by Edgewater, and Edgewater has offered no
showing (let alone an undisputed showing) along those lines.” (Damages Resp. at 18.) But as
numerous cases make clear, a principal need not establish economic harm in order to receive
forfeiture of compensation. See, e.g., McLaughlin v. Chicago Transit Auth., 243 F. Supp. 2d
778, 779 (N.D. Ill. 2003) (“‘[F]orfeiture-of-salary damages are available even where the
defendant employer is not otherwise injured by the breach.’”) (quoting Robinson v. SABIS, 2000
WL 343251, at *3 n.2 (N.D. Ill. Mar. 31, 2000)); ABC, 413 N.E.2d at 1315 (“‘[I]t makes no
difference whether the result of the agent’s conduct is injurious to the principal or not, as the



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misconduct of the agent affects the contract from considerations of public policy rather than of
injury to the principal.’”) (quoting Steinmetz v. Kern, 32 N.E.2d 151, 154 (Ill. 1941)).9 This is
because “[a]gency law is designed not only to remedy damages suffered by the principal, it is
also intended to remove any temptation an agent might have to breach his fiduciary duties by
acting against a principal’s best interests.” Frey v. Fraser Yachts, 29 F.3d 1153, 1159 (7th Cir.
1994); see also Hill v. Names & Addresses, Inc., 571 N.E.2d 1085, 1096 (Ill. App. Ct. 1991)
(noting that public policy requires forfeiture “even when it more than compensates the plaintiff
for injury or damage resulting from a breach of loyalty”).
         Here, it is undisputed that Defendants extracted millions of dollars in fees from EMC
while breaching their fiduciary duty. EMC was harmed to the extent that it paid Defendants for
loyal and faithful services, which it did not receive. See Lippert Mktg., Ltd. v. Kingwood
Ceramics, Inc., 1996 WL 648705, at *3 (N.D. Ill. Oct. 31, 1996) (“Illinois courts have found that
injury occurs to a principal if the agent breached its fiduciary duty while collecting compensation
for its services from the principal.”); McLaughlin, 243 F. Supp. 2d at 779 (denying motion to
dismiss breach of fiduciary duty claim for failure to plead damages where the complaint alleged
that the principal “was damaged to the extent of the salary it paid [the agent] during the period
when it mistakenly believed her to be a loyal fiduciary”); R.K. Ray Sales, Inc. v. Genova, Inc.,
478 N.E.2d 616 (Ill. App. Ct. 1985) (an agent’s work is not properly performed when done
during a period on which other aspects of the agency contract are being breached “even if the
agent’s breach does no harm to the principal”).
         Furthermore, as this Court previously has held, the economic harm to EMC is apparent
from the suspension of Medicare reimbursements. (4/6/05 Mem. Op. at 9.) Once the
government discovered that Defendants used EMC to perpetrate health care fraud, the
government suspended all payments to EMC, and shortly thereafter, EMC was forced to close its
doors. (SOF1 ¶¶ 40-41.) EMC also has been sued in a number of medical malpractice suits as a
result of Defendants’ misconduct, requiring the expenditure of significant time and resources.
(SOF1 ¶¶ 42-44.) Thus, contrary to Defendants’ assertion, EMC has provided ample evidence of


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 See also 1 Ill. Law & Prac. Agency § 52 (“An agent forfeits his right to compensation where he fails to perform the
duties of his agency, breaches his agreement with the principal, where he is guilty of gross negligence, misconduct,
or gross unskilfullness in the business of his agency, irrespective of whether his misconduct results in injury to the
principal, since the misconduct of the agent affects the contract from considerations of public policy rather than of
damage to the principal.”) (emphasis supplied).


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the economic harm caused by Defendants’ breach, despite the fact that it was under no obligation
to do so.
         Second, Defendants argue that forfeiture is unwarranted because EMC “was a co-
perpetrator and the primary beneficiary” of the fraudulent scheme. (Damages Resp. at 19.) That
argument should be rejected because it merely is an attempt to relitigate this Court’s prior ruling.
(4/6/05 Mem. Op. at 13-16.) In response to EMC’s motion for summary judgment on liability,
Defendants did not dispute that EMC proved the required elements for breach of fiduciary duty.
(Id. at 10.) Rather, Defendants argued – as they do here – that EMC was a co-conspirator and
beneficiary of the scheme by asserting three affirmative defenses: dual agency, in pari delicto,
and ratification. (Id.) In raising each of these defenses, Defendants “acknowledge[d] the
management companies’ culpability in the Medicare fraud scheme and only argue[d] that EMC
should also bear some measure of responsibility” because Ehmen supposedly acted as a “dual
agent” responsible to both Defendants and EMC, because the physicians involved in the
Medicare fraud scheme were purportedly agents of EMC, and because EMC purportedly
benefited from the wrongful conduct. (See id. at 11-12.) In rejecting these arguments, this Court
held that Defendants’ affirmative defenses are inapplicable in this case as a matter of law
because the allegedly “wrongful actors have been removed [from EMC], first by the appointment
of a receiver, next by that receiver’s subsequent appointment to the more expansive role of
custodian.” (See id. at 14-15.) The Court reasoned that, where, as here, “a receiver has been
appointed to maximize value only for the benefit of creditors, the rationales for [in pari delicto
type defenses] lose their meaning.” (Id. at 15.) This holding is now the law of the case, and
Defendants are precluded from relitigating the issue. See, e.g., Donohoe, 30 F.3d at 910
(“[W]hen a court decides upon a rule of law, that decision should continue to govern the same
issues in subsequent stages in the same case.”).10


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  In any event, Defendants’ argument fails on the merits for all of the reasons previously discussed in EMC’s Reply
Memorandum in Support of its Motion for Partial Summary Judgment on liability, which EMC incorporates herein.
(See Liability Reply Mem. at 11-23.) For example, while Defendants assert that the fraud scheme “was conducted
by Edgewater’s own vice president of marketing (Roger Ehmen),” (Damages Resp. at 19), that assertion ignores the
undisputed evidence showing that Ehmen served EMC only as a “subagent,” i.e., as an employee of Defendants,
EMC’s direct agent, and that, under the law of “subagency,” an agent (Defendants) is responsible to his principal
(EMC) for the actions of a sub-agent (Ehmen). (Liability Reply Mem. at 11-18.) Similarly, while Defendants assert
that the fraud scheme was “conducted by . . . Edgewater’s own doctors,” (Damages Resp. at 20), that assertion
ignores the undisputed evidence showing that the doctors were in fact independent contractors, not agents of EMC.
(Liability Reply Mem. at 18-21.) Likewise, Defendants ignore that Ehmen’s and the doctors’ fraudulent acts may
not be imputed to EMC for the additional reason that their actions were adverse to EMC’s interests. (Id. at 17-18,


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         Third, in a related argument, Defendants assert that forfeiture is not warranted because
EMC received $13 million as a result of Defendants’ fraud. (Damages Resp. at 18-19.) To
begin with, Defendants provide no admissible evidence, as they must on summary judgment, as
to what – if anything – EMC itself received out of the proceeds of the fraud scheme. In asserting
that EMC received $13 million from the scheme, Defendants rely entirely upon Defendants’ plea
agreements. But those documents (which are themselves inadmissible hearsay when Defendants
attempt to use them against EMC)11 merely state that “Medicare and CMS were fraudulently
billed and lost approximately $13,644,598” and do not state what portion of the $13 million went
to EMC, as opposed to the participants in the fraud, i.e., Defendants or the physicians and their
businesses. Moreover, EMC has presented unrebutted evidence demonstrating that it paid
Defendants in excess of $22 million in the form of management and administrative fees during
the period of the fraud. Thus, to the extent that EMC received any financial benefits from the
scheme, Defendants plainly saw to it that those proceeds promptly flowed out of EMC and into
Defendants’ coffers. In addition, any claimed “benefit” to EMC pales in comparison with the
real damage Defendants’ fraud caused: cessation of Medicare funds, exposure to lawsuits,
potential criminal prosecution, and the siphoning of funds out of EMC and into Defendants’
pockets through millions in management fees.
         Fourth, Defendants assert that complete forfeiture would be unfair because the improper
Medicare billings inflated Defendants’ compensation by no more than $272,891,000 since the
highest rate for the Annual Percentage Fee was 2% of net patient revenue and Medicare was
fraudulently billed approximately $13,644,598. (Damages Resp. at 18.) However, as noted
above, Defendants provide no admissible evidence as to the amount of the improper billings.
Moreover, as numerous cases make clear, forfeiture of compensation is not dependent upon the
amount of profit derived from the wrongdoing. See, e.g., Vendo Co. v. Stoner, 321 N.E.2d 1 (Ill.
1974); ABC, 413 N.E.2d at 1314-15. Furthermore, Defendants construe their benefit too
narrowly: it is not limited to 2% of the improper billings, but rather includes the total amount of



21.)
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   See Fed. R. Evid. 801(c); Vaughn v. King, 167 F.3d 347, 354 (7th Cir. 1999) (holding that plaintiff’s testimony as
to her own prior out-of-court statement was inadmissible hearsay); Fucarino v. Thornton Oil Corp., 1999 WL
691820, at *7 (N.D. Ill. Aug. 23, 1999) (holding that plaintiff’s answer to interrogatory was inadmissible on
summary judgment because it was “being offered by the party responding to the interrogatory (i.e., [was] not an
admission of a party-opponent”)).


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management and administrative fees they received during the period they were in willful and
deliberate breach of their fiduciary duty.
         Fifth, Defendants claim that it would be unjust to order Defendants to return all
compensation they received under the Management Agreements because “most of the services
they rendered for Edgewater were proper, useful, and in accordance with the contracts.”
(Damages Resp. at 20.) That argument too misses the mark. As an initial matter, Defendants do
not support their contention with any evidence. The only “fact” that Defendants offer in support
of their assertion is that EMC earned $433 million in operating revenues during the relevant
period and that Defendants wrongdoing constituted just over $13 million. (Id. at 4-5.) But
Defendants not only fail to provide any evidence of EMC’s revenues during the relevant
period,12 they also fail to provide any evidence of what portion of EMC’s revenues were
attributable to work Defendants performed (as opposed to other independent contractors or
employees of EMC) and what percentage of Defendants’ time was devoted to performing
“proper and useful” services, as opposed to perpetrating (and attempting to conceal) the
fraudulent scheme.
         Furthermore, Defendants’ argument is utterly irrelevant because the rule requiring
complete forfeiture of all compensation applies even where the agent performed some legitimate
services for the principal during the period of the breach. In each of the cases discussed in
EMC’s opening brief, the agents actually performed some duties for their principal for which
they would normally receive compensation at the same time they were breaching their fiduciary
duty of loyalty to their principal. (Damages Mem. at 7-9.) In each instance, the court found that
an agent could not expect compensation for the period of time in which the agent was disloyal.
(Id.) For example, in ABC defendants argued that they were entitled to partial compensation
because they continued to perform some legitimate services for plaintiff during the period of the

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   In their Statement of Additional Facts, Defendants assert that EMC “earned in excess of $433 million in operating
revenue from 1995 to 2000 as reflected in its 1998 Bond Offering, audited and unaudited financial statements and
other publicly disclosed documents,” but Defendants fail to provide any such documents. (Def. SOF2 ¶ 20.)
Defendants then assert in a footnote that, “[a]t this time, Defendant will not burden the court with these voluminous
documents, but will be happy to provide copies of these documents if EMC challenges this factual statement.” (Id.)
However, it was Defendants’ burden to come forward with admissible evidence creating a genuine issue of material
fact both under Fed. R. Civ. P. 56 and Bankr. L.R. 7056-2, and they have not done so here. See Winskunas v.
Birnbaum, 23 F.3d 1264, 1267-68 (7th Cir. 1994) (to defeat motion for summary judgment, nonmoving party must
produce “evidence of evidentiary quality,” i.e., admissible evidence); Kocik v. USF Holland, Inc., 2005 WL 442369,
at *3 (N.D. Ill. Feb. 22, 2005) (“nonmoving party must support its contentions with admissible evidence”); Cacique,
Inc. v. V&V Supremo Foods, Inc., 2004 WL 2222270, at *11 (N.D. Ill. Sept. 30, 2004) (“facts must be supported by
relevant, admissible evidence”).


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wrongful activity. ABC, 413 N.E.2d at 1314. The trial court accepted this argument, requiring
defendants to forfeit only one-third of the compensation paid to them during the period of their
breach. Id. However, the reviewing court modified the salary forfeiture award on appeal,
holding that plaintiff was entitled to the total compensation it had paid defendants during the
period of their breach. Id. While the court agreed that defendants properly retained their
compensation for all periods prior to the commencement of the breach, the court refused to
“extend the apportionment concept to justify the trial court’s decision that defendants should
forfeit only one-third of compensation paid to them during the four month period of their breach
of duties.” Id. After noting the general rule that “‘an agent is entitled to compensation only on a
due and faithful performance of all his duties to his principal,’” id. at 1314-15 (quoting
Steinmetz, 32 N.E.2d at 154), the court explained that:
         The confusion over ‘total’ versus ‘partial’ salary forfeiture, as expressed in the
         apportionment principle, is eliminated by the recognition that within the actual
         period of tortious conduct, salary forfeiture is required because the agent’s
         services are not being ‘properly’ performed. The agent retains compensation
         rightfully earned before the breach, for specific periods. As a matter of public
         policy . . . , however, one who breaches fiduciary duties has no entitlement to
         compensation during a willful or deliberate course of conduct adverse to the
         principle’s interest.

Id. at 1315; see also Grace v. E.J. Kozin Co., 538 F.2d 170, 175 (7th Cir. 1976) (awarding
complete forfeiture where plaintiff had “not challenged the district court’s finding that
[defendant] earned his $19,000 per year salary during the three years in question” because
“forfeiture does not depend upon whether the employee earned the salary, but is intended as a
deterrent to wrongful conduct”); Dowd & Dowd, Ltd. v. Gleason, 816 N.E.2d 754, 771 (Ill. App.
Ct. 2004) (affirming trial court’s order of complete forfeiture of compensation beginning with
the date on which defendants began breaching their fiduciary duty and reasoning that, while
“there was no indication that defendants did not work at the efficiency level or with the diligence
that they had prior to deciding to leave Dowd, they cannot claim a right to retain the
compensation earned while breaching their fiduciary duty to Dowd”).13


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  Other courts have reached the same conclusion. See, e.g., Wilshire Oil Co. of Texas v. Riffe, 406 F.2d 1061, 1062-
63 (10th Cir. 1969) (requiring complete forfeiture despite defendant’s contention that part of his services were
properly performed and that the corporate division for which he was responsible made money during the period in
question); Enstar Group, Inc. v. Grassgreen, 812 F. Supp 1562, 1573-74 (M.D. Ala. 1993) (requiring complete
forfeiture despite defendant’s contention that he worked diligently on behalf of plaintiff and that plaintiff profited
from his work); In re Hadleigh D. Hyde Trust, 458 N.W.2d 802, 805 (S.D. 1990) (“An agent is not entitled to any


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         Contrary to Defendants’ blithe assertion, “[t]he caselaw does not make an allowance in
damages for a disloyal employee’s periodic loyalty. The entire salary is forfeited under the
rationale that the employer is paying for all of the disloyal employee’s performance and not just
part of it.” County of Cook v. Lynch, 620 F. Supp. 1256, 1258 (N.D. Ill. 1985). This is
particularly true where, as here, Defendants’ breach effectively tainted all aspects of their work.
Defendants were required to use their best efforts and all due diligence to ensure that EMC
maintained in good standing all necessary accreditations, licenses, permits, approvals, etc.
required for EMC’s ongoing operations, and yet Defendants ensured quite the opposite result by
using EMC as a vehicle to commit Medicate fraud.
         Sixth, Defendants (without citing any additional authority) assert that forfeiture only
applies to employees – rather than agents – who have breached their fiduciary duty to an
employer. By its plain terms, however, the doctrine applies to any agent who breaches a
fiduciary duty to its principal, and is not limited to cases involving an employee/employer
relationship. Accordingly, a number of cases have applied the doctrine to agents other than
employees. See, e.g., Sobel v. Franks, 633 N.E.2d 820, 828 (Ill. App. Ct. 1994) (insurance
broker forfeited any commissions earned during period of breach of fiduciary duty); R.K. Sales,
Inc., 478 N.E.2d at 619-20 (if agent corporation breached its duty in a willful and deliberate
manner, then it is required to forfeit any commissions earned during period of breach).
         Seventh, Defendants’ suggestion that EMC is not entitled to forfeiture because it has not
shown a breach of the duty of loyalty also is without merit. (Damages Resp. at 19.) As
previously discussed, Defendants breached not only their duty of care, but also their duty of
loyalty, in using EMC as a vehicle to commit Medicare fraud. (Liability Mem. at 14-16;
Damages Mem. at 11-13.) While purporting to act on behalf of EMC, it is uncontroverted that
Defendants used their relationship with EMC, and their control over EMC’s operational and
financial affairs, to obtain money from Medicare by fraud. Defendants said they would act for
EMC’s benefit, when in fact they acted for their own benefit and to EMC’s detriment. Although
Defendants try desperately to minimize the benefit to themselves from the wrongdoing, there can
be no legitimate dispute that Defendants breached their fiduciary duty of loyalty and good faith
toward EMC by using EMC as a vehicle to line their pockets through a scheme to defraud


compensation, even for properly performed services, if the agent is guilty of willful and deliberate disobedient
conduct constituting a breach of his agency contract.”).


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Medicare. Although Defendants correctly point out that several of the cases cited in EMC’s
opening memorandum involved situations where the fiduciary was in competition with his
employer or usurped the principal’s business opportunity, nothing in any of the cases limits the
remedy of forfeiture to such factual scenarios and Defendants do not – and cannot – cite any
cases saying otherwise. See, e.g., Robinson, 2000 WL 343251, at *2 (noting the availability of
forfeiture of compensation and stating that breach of fiduciary duty is not limited to usurpation
of the principal’s interests, but extends to “a myriad of infidelities and betrayals”).
         Finally, Defendants assert – again, without any authority – that because this Court
previously has held that Defendants’ dual agency and in pari delicto defenses are inapplicable as
a matter of law because the “wrongful actors have been removed” from EMC, “[i]t would be
incongruous for this Court to now hold that Edgewater may invoke the equitable principle of
unjust enrichment, insofar as the Management Companies have not been unjustly enriched vis-à-
vis the receiver.” (Resp. Mem. at 20.) But that argument fails on its face.14 The Court’s
rationale for not applying in pari delicto type defenses to a receiver who has been appointed to
maximize value for the benefit of innocent creditors simply does not apply to Defendants. Any
judgment against Defendants will benefit innocent creditors and be paid by those culpable in the
fraud. This is exactly the equitable result that is contemplated by the forfeiture doctrine.
         C.      Defendants Should Be Ordered to Forfeit All Compensation Received
                 During the Period of Their Willful and Deliberate Breach of Fiduciary
                 Duty, Including Administrative Manager Reimbursements and Exclusive
                 Corporate Service Fees.
         Defendants further assert that, even if EMC is entitled to the return of all compensation it
paid to Defendants during the period of their willful and deliberate breach, Defendants should
not be required to forfeit any of the Administrative Manager Reimbursements and Exclusive
Corporate Service Fees because the former do not constitute “compensation” and the latter are
“entirely separate” from Defendants’ wrongdoing. (Damages Resp. at 21-22.) Defendants are
wrong.




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 To begin with, Defendants reference to “unjust enrichment” is misplaced since EMC has not invoked that
particular theory. Rather, EMC’s motion is explicitly based on forfeiture, a different legal theory.


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               1.      Defendants Should Be Required to Forfeit All Administrative
                       Manager Reimbursements Because Such Payments Were a Form of
                       Compensation and Because Courts Have Held that Reimbursable
                       Expenses Are Subject to Forfeiture.

       Defendants assert – without citing a single case – that they should not be required to
forfeit the $9,198,536.91 EMC paid to Defendants in Administrative Manager Reimbursements
because the payments did not constitute “compensation,” but rather were pass-through
expenditures incurred for EMC’s account and for which EMC was obligated to reimburse
Defendants. (Damages Resp. at 21-22.) To support their assertion, Defendants principally rely
upon the fact that the provisions regarding Administrative Manager Reimbursements were set
forth in a different section of the Management Agreements than the provisions governing
Monthly Fixed and Annual Percentage Fees. (Id. at 21-22.) The Administrative Manager
Reimbursements were discussed under Section III, “Duties of Manager,” whereas the Monthly
Fixed and Annual Percentage Fees were discussed under Section VI, “Compensation of
Manager.” (Pl. Ex. 1 at §§ 3.01, 6.01; Pl. Ex. 2 at §§ 3.01, 6.01; Pl. Ex. 3 at §§ 3.01, 6.01.)
Also, as Defendants point out, the 1994 and 1997 Management Agreements state that
Administrative Manager Reimbursement shall be considered a “Cost of Operation.” (Damages
Resp. at 21; Pl. Ex. 1 at § 3.01; Pl. Ex. 2 at § 3.01.) Defendants’ argument on this score
baselessly elevates form over substance. The mere fact that the Management Agreements
discussed Administrative Manager Reimbursement in a different section of the contracts, or
referred to such payments as a “Cost of Operation,” does not change the reality that these
payments constituted a form of “compensation” to Defendants.
       EMC contracted with Defendants – two limited partnerships – to act as the “sole and
exclusive” manager of the day-to-day operations of EMC. (SOF1 ¶ 10.) Of course, it is
hornbook law that an entity such as a corporation or a partnership can act only through the
conduct of its human agents. See Seventh Circuit Pattern Criminal Federal Jury Instr., § 5.03.
As such, the Management Agreements contemplated that Defendants would employ certain
senior managers, known as “Administrative Managers.” (SOF2 at ¶ 4; Pl. Ex. 1 at § 3.01; Pl. Ex.
2 at § 3.01; Pl. Ex. at § 3.01.) As clearly explained in each of the Management Agreements, the
Administrative Managers were employees of, and compensated by, Defendants, but EMC was
required to reimburse Defendants for all compensation and expenses they incurred or paid to or
on behalf of the Administrative Managers. (Id.) The fact that the Management Agreements


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required EMC to reimburse Defendants for the salaries and expenses that Defendants paid their
employees – as opposed to paying Defendants higher management fees – does not somehow
convert the payments into something other than compensation. Either EMC could have paid
Defendants higher management fees from which Defendants would have had to pay the
Administrative Managers or it could have paid those fees in the manner it did here. Under both
scenarios, these were monies that compensated Defendants for their services.
       Defendants further claim that EMC’s reimbursement to Defendants for the salaries paid
by Defendants to their employees “were not monies that benefited the Management Companies.”
(Damages Resp. at 22.) But that assertion is obviously ridiculous. Because EMC reimbursed
Defendants, Defendants did not have to pay their employees’ salaries out of the Monthly Fixed
and Annual Percentage Fees. In other words, Defendants could retain the full amount of the
Monthly Fixed Fees and Annual Percentage Fees, thus increasing their profit.
       Regardless of whether the Administrative Manager Reimbursements are more
appropriately characterized as “compensation” or as “reimbursable expenses,” Defendants still
should be required to forfeit those payments as a result of their willful and deliberate breach of
fiduciary duty. Defendants do not cite a single case for the proposition that reimbursable
expenses are not subject to forfeiture. To the contrary, at least one court squarely has held that
such “expenses can be forfeited when a breach of fiduciary duty has occurred.” In re Allied
Physicians Group, P.A., 2004 WL 2965001, at *3 (N.D. Tex. Dec. 15, 2004).
       In Allied, defendants argued that the bankruptcy court’s order requiring them to forfeit
“reimbursed costs and expenses,” in addition to other fees, was not warranted absent any finding
of injury or causation. Id. The reviewing court squarely rejected this contention, stating that it
“agree[d] with the bankruptcy court that this form of compensation should be forfeited under the
remedial regime of Burrow.” Id.; see also Burrow v. Arce, 997 S.W.2d 229, 240 (Tex. 1999)
(holding that a client need not prove actual damages to obtain forfeiture of an attorney’s fees due
to the attorney’s breach of fiduciary duty). While defendants stressed that the “proper limits of
the equitable remedy [of forfeiture of compensation] should not exceed the amount of fees
actually received,” the court noted that defendants (just like Defendants here) “fail[ed] to direct
this court to a single case that distinguishes between fees and reimbursable expenses in the
context of forfeiture.” Allied, 2004 WL 2965001, at *4. The court further explained that
defendants’ argument “appear[ed] to gloss over Burrow’s reasoning that all compensation



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received by a disloyal fiduciary is forfeited,” stating: “It is the law that in such instances if the
fiduciary takes any gift, gratuity, or benefit in violation of his duty, or acquires any interest
adverse to his principal, without a full disclosure, it is a betrayal of his trust and a breach of
confidence, and he must account to his principal for all he has received.’” Id. (quoting Burrow,
997 S.W.2d at 239). The court rejected defendants’ contention that granting forfeiture of
reimbursed costs and expenses unduly expanded the remedial scheme of forfeiture, noting that
the court’s holding merely determined that “the bankruptcy court did not err in allowing
forfeiture of all compensation, however denominated, received by [defendants].” Id. at *5
        Although Allied was decided under Texas law, its reasoning is consistent with Illinois
law. Like Texas, Illinois law recognizes that an agent “who breaches fiduciary duties has no
entitlement to compensation during a willful or deliberate course of conduct adverse to the
principal’s interests.” ABC, 413 N.E.2d at 1315. Thus, like the court in Allied, which applied
legal principles virtually identical to those applicable under Illinois law, this Court should grant
EMC forfeiture of all compensation, however denominated, including the Administrative
Manager Reimbursements.
                2.      The Management Agreements Required EMC to Retain Defendants
                        for Corporate Services and These Fees Were Paid During a Time
                        When Defendants Were in Willful and Deliberate Breach of Their
                        Fiduciary Duty.
        Defendants also assert – again, without citing any authority – that they should not be
required to forfeit the $1,488,837.98 that EMC paid to Defendants in Exclusive Corporate
Service Fees because those services “were entirely separate from management services
associated with billing, preparing cost reports, and other activities that might bear upon the
Medicare and Medicaid scheme.” (Damages Resp. at 22.) Defendants’ argument fails.
        First, the Management Agreements themselves required EMC to retain and compensate
Defendants, exclusively, for corporate projects outside the scope of EMC’s routine operations.
(SOF1 ¶ 5; Pl. Ex. 1 at §§ 3.18, 3.19; Pl. Ex. 2 at §§ 3.19, 3.20; Pl. Ex. 3 at §§ 3.17, 3.18.) Thus,
contrary to Defendants’ assertion, the Exclusive Corporate Service Fees were not “entirely
separate” from Defendants’ management services. Second, and more importantly, Illinois courts
have held that compensation, such as the fees at issue here, is properly apportioned according to
the relevant time period, not according to the particular services performed. See, e.g., ABC, 413
N.E.2d at 1314. The concept of apportionment allows the breaching party to retain



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compensation before and after the period of the breach, but not during the time period in which
the breach occurred. See, e.g., Vendo Co., 321 N.E.2d at 14 (distinguishing between total
forfeiture of a breaching agent’s salary and forfeiture “only for the period of time beginning with
the breach of his duty of loyalty,” and finding the latter the proper measure of damages); Veco
Corp., 611 N.E.2d at 1060-62 (holding that the proper measure of damages was full forfeiture of
compensation during the period of the breach). Finally, had EMC known that Defendants were
committing Medicare fraud, EMC plainly would not have retained Defendants to perform
additional services on EMC’s behalf.
          D.     There Is No Disputed Issue of Fact Regarding the Amount of Compensation
                 EMC Paid to Defendants During the Period of Their Breach.
          In its opening brief, EMC demonstrated that its claim for forfeiture should be resolved on
summary judgment because there is no disputed issue of fact regarding (1) the period during
which Defendants breached their fiduciary duty to EMC by committing Medicare fraud, or (2)
the amount EMC paid to Defendants for services performed during that period. (Damages Mem.
at 14-15.) Defendants’ response merely underscores this point.
          Defendants do not – and cannot – even attempt to dispute that they breached their
fiduciary duties to EMC between January 1995 and December 2000.
          Nor do Defendants dispute in any material way the amount EMC paid to Defendants for
services performed during that period. In its Statement of Undisputed Material Facts, EMC
presented for each payment during the relevant time period undisputed proof of payment in the
form of a cancelled check endorsed by Defendants and/or a corresponding entry in Defendants’
General Ledger. (SOF2 ¶¶ 9(a)-106(a).) For each payment, EMC presented proof of the type of
fee EMC paid Defendants, including Defendants’ invoices to EMC, Defendants’ General Ledger
entries, EMC’s check registry, and/or detailed check requests. (SOF2 ¶¶ 9(b)-106(b).) The
grand total for these payments, as detailed in EMC’s Statement of Undisputed Facts, was
$22,480,843.82, broken down by type of fee as follows: (1) $9,198,535.91 in Administrative
Manager Reimbursement, (2) $1,488,837.98 in Exclusive Corporate Service Fees, (3)
$7,325,351.48 in Monthly Fixed Fees, and (4) $4,468,117.15 in Annual Percentage Fees. (SOF2
¶ 106.)
          Defendants agree with these figures. In their Statement of Additional Facts, Defendants
assert that, from 1995 through 2000, “the Management Companies received a total of
$9,198,536.91 as reimbursements for administrative management costs” and “a total of


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$1,488,837.98 for exclusive corporate services.” (Def. SOF2 ¶ 15.) Thus, by Defendants’ own
words, there is no dispute as to the amount of money Defendants received in Administrative
Manager Reimbursement or Exclusive Corporate Service Fees during the relevant period.15
         Defendants also admit the amount of the remaining fees. For example, in Paragraph 8 of
EMC’s Statement of Undisputed Facts, EMC provided a chart summarizing each payment EMC
made to Defendants and specified the following information for each payment: (i) Check or
Ledger Date, (2) Check Number (where applicable), (iii) Check or Ledger Amount, (iv) Fixed
Fees Sought, (v) Percentage Fees Sought, (vi) Administrative Manager Reimbursement Sought,
(vii) Corporate Service Fees Sought, and (viii) Total Recovery Sought. (SOF2 ¶ 8.) Defendants
admit Paragraph 8 in its entirety, with one immaterial exception. (Def. Resp. to SOF2 ¶ 8.)16
         Notably, Defendants assert in their Statement of Additional Facts that, from 1995 through
2000, the Management Companies received a combined total of $11,600,530.83 in Monthly
Fixed Fees and Annual Percentage Fees. (Def. SOF2 ¶ 13 & Ex. 2.) While that amount is
$192,937.80 less than the combined total of $11,793,468.63 set forth in EMC’s Statement of
Undisputed Facts, the Court should disregard this purported discrepancy since Defendants admit
each of the underlying payments set forth in EMC’s Statement of Undisputed Facts (Def. Resp.
to SOF2 ¶ 8-106) – which together add up to $11,793,468.63 in Monthly Fixed and Annual
Percentage Fees. Moreover, the purported discrepancy between EMC’s figure and Defendants’
figure is due entirely to a computation error in Defendants’ Exhibit 2 and Defendants’ omission
of an entry for the January 1996 Fixed Fees in the amount of $64,312.50 from said exhibit. (See
Def. Ex. 2; SOF2 ¶ 24 & Ex. 7, at Tab 16.) When the amounts in column one of Defendants’
Exhibit 2 are added correctly, the total amount equals $11,729,155.83, which is $64,312.80 less
than the amount EMC claims. The resulting difference is explained by the omission of the
January 1996 Fixed Fees from Defendants’ Exhibit 2. (See SOF2 ¶ 24 & Ex. 7, at Tab 16.)17

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   Defendants’ total for Administrative Management Reimbursement is actually $1 higher than EMC’s total for
those payments. However, this calculation error does not create a genuine issue of material fact because EMC is
willing to concede $1 in either direction.
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   Defendants denied that the ledger amount for June 29, 2000 was for $254,799.00 because, when accounting for
the debited amount reflected in Pl. Ex. 7, Tab, 86, the ledger amount was actually $251,402.00. (Id.) However, as
the chart set forth in Paragraph 8 of EMC’s Statement of Undisputed Facts itself makes clear, EMC only sought
recovery of $251,402.00, i.e., $145,833.33 in Fixed Fees and $105,568.67 in Percentage Fees. (SOF2 ¶ 8; see also
id. ¶ 94.) Thus, because EMC already subtracted the debited amount from its requested recovery, Defendants’
limited denial is irrelevant and does not create a genuine issue of material fact.
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   Once these errors are corrected, there is a resulting discrepancy of only 30 cents. However, this difference does
not create a genuine issue of material fact because EMC is willing to concede the 30 cents.


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III.   EMC IS ENTITLED TO INDEMNIFICATION.
       As EMC explained in its opening brief, following this Court’s ruling that EMC
“established the requirements for indemnification” under the Management Agreements, the only
issues that remained were whether the expenses EMC seeks to recover are among those forms of
damages delineated in the indemnification provision, and the amount of expenses. (Damages
Mem. at 15.) The latter is no longer at issue. Defendants do not contend that any expense was
less than EMC has stated; rather, they contest only the scope of the indemnification provision.
(Damages Resp. at 23-30.) But while Defendants generally assert that EMC has asked for more
than it is due under the indemnification agreement, they ignore the indemnification provision for
the most part, and make the straw man argument that EMC seeks to recover payments falling
outside the generic rule of contract damages. Because Defendants do not seriously quibble with
EMC’s interpretation of the indemnification provision, and because the background rules of
contract damages do not apply where, as here, parties have specifically contracted otherwise,
EMC’s motion should be granted.
       A.      The General Rules For Calculating Contract Damages Do Not Apply.
       The parties did not, as one would think from reviewing Defendants’ Response, agree to a
generic indemnification provision. Instead, the parties stated in the very Management
Agreements at issue exactly what they meant by “indemnification.” Defendants agreed to
indemnify EMC for:
       any and all losses, claims, liens, encumbrances, charges, obligations, damages, liabilities,
       costs and expenses whatsoever (including without limitation consequential damages,
       interests, fines, claims for the recovery of response costs, and reasonable attorneys’,
       engineering consultants’, accounting, and other necessary professional fees and expenses)
       . . . incurred or suffered by [EMC] . . . directly or indirectly by reason of, or caused in
       whole or in part by, or pertaining to or in any manner connected with any false
       statements or breach of any representation, warranty, covenant, term, or agreement of
       [defendants] contained in this Agreement.
(Damages Mem. at 16; SOF1 ¶ 20 (emphasis added).) Because, as Defendants concede, the
provision is unambiguous, the Court must “‘give effect to the intention of [the] parties
determined solely from the language used.’” (Damages Mem. at 16 (quoting Shah v. Atlantic
Richfield Co., 1987 WL 6305, at *4 (N.D. Ill. Feb. 5, 1987)).) However, for no reason that they
articulate, Defendants argue that this Court should entirely ignore the indemnification provision
and apply the “basic theory of damages for breach of contract” – i.e., the background rules that
apply when parties do not, as they indisputably did here, contract otherwise. (Damages Resp. at


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23.) Specifically, Defendants first argue that EMC is limited to recovering the amount necessary
to “remedy[]” the “deficiencies” in the services Defendants’ provided. (Id. at 24.) But in the
very next sentence Defendants imprecisely characterize this as EMC’s “loss amounts,” and on
the following page hypothesize that EMC may recover only the “actual economic harm resulting
from [Defendants’] breach on the value of the contractually conforming management services.”
(Id. at 24-25; see also id. 5-6 (“Edgewater’s demand for indemnification must be tied to some
actual loss”). This chameleon argument is frivolous.
         Defendants provide no basis for ignoring the plain language of the indemnification
provision, which permits EMC to recover “any and all losses, claims, liens, encumbrances,
charges, obligations, damages, liabilities, costs and expenses whatsoever.” (Damages Mem. at
16; SOF1 ¶ 20 (emphasis added).) Defendants’ assertion that EMC is limited to the cost of
remedying “deficiencies,” or “loss amounts,” or “actual economic harm” bears no resemblance
to the indemnification provision’s more fulsome language. Interpretations of contractual
provisions – if Defendants’ argument, which refers to the actual language of the contract only in
passing can justly be called an “interpretation” – which would render terms superfluous or
meaningless are disregarded. See, e.g., First Bank & Trust Co. of Ill. v. Vill. of Orland Hills, 338
Ill. App. 3d 35, 40 (Ill. App. Ct. 2003) (“When parties agree to and insert provisions into their
agreement, we presume that this is done purposefully and that the language employed is to be
given effect. A court will not interpret an agreement in a way that would nullify its provisions or
render them meaningless.”) (internal citation omitted.) Defendants’ reading would render
meaningless the terms “claims, liens, encumbrances, charges, obligations . . . liabilities, costs and
expenses.” Defendants do not – and cannot – dispute that these terms plainly cover the
categories of payments EMC seeks to recover here.
          Moreover, none of the cases Defendants rely on even concerns application of an
indemnification provision, much less an indemnification provision similar to that quoted above.18
(Damages Resp. at 23-24.) Nor do those cases suggest that general damages rules trump explicit

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   The Avery v. State Farm Mut. Auto. Ins. Co. and Nilsson v. NBD Bank of Illinois courts merely applied the default
rules of contract damages Defendants quote; neither purported to do so in the face of and in contradiction to an
indemnification clause. 835 N.E.2d 801, 832 (Ill. 2005); 731 N.E.2d 774, 760 (Ill. App. Ct. 1999); Damages Resp.
at 23. Similarly, the Restatement of Contracts section cited by Defendants governs the “measure of damages in
general,” not indemnification provisions. Restatement (Second) Contracts § 347. Finally, that EMC did “not
provide this Court with any proof” of damages under the terms of Kalal v. Goldblatt Brothers, Inc., 368 N.E.2d 671,
674 (Ill. App. Ct. 1977), should come as no surprise. (Damages Resp. at 24.) That case involved a routine breach of
a contract to re-upholster a sofa, and no indemnification clause was at issue.


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terms in a contract. Indeed, parties would never take pains to spell out what forms of recovery
are included in indemnification, as the parties here unquestionably did, if general rules of
contract damages nevertheless applied. Where, as here, parties spell out the terms of
indemnification, those terms must be given effect just like any other terms of the contract.
B.       EMC Is Not Limited To Losses “Caused” By Defendants Breach.
         Defendants’ refusal to consider the actual language of the indemnification agreement at
issue is also behind their baseless contention that EMC may recover only those fees whose
payment was “caused” by their breach.19 (Damages Resp. at 24.) The indemnification provision
requires that to be recoverable those fees need only be “incurred or suffered by [EMC] . . .
directly or indirectly by reason of, or caused in whole or in part by, or pertaining to or in any
manner connected with any false statements . . . (Damages Mem. at 16; SOF1 ¶ 20 (emphasis
added).) Defendants read “pertaining to or in any manner connected with” out of the agreement
altogether, focusing on the narrowest term. (Damages Resp. at 24.) However, as noted above, it
is axiomatic that “[i]n construing [a] contract, effect must be given to each clause and word used,
without rejecting any words as meaningless or surplusage.” Hufford v. Balk, 113 Ill. 2d 168, 172
(Ill. 1986). Giving each term meaning, it is plain that the phrases “pertaining to” and “in any
manner connected with” evidence the parties’ intention to require indemnification under a much
less rigorous standard than actual causation. Moreover, this Court already has held that EMC
“has established the requirements for indemnification.” (4/6/05 Mem. Op. at 10.)
         As the undisputed facts establish and as this Court found, Defendants’ fraudulent and
illegal scheme to use EMC to perpetuate Medicare fraud commenced in 1995 and continued until
at least the end of 2000. (4/6/05 Mem. Op. at 4; Damages Mem. at 13.) During this period,
EMC renewed its contracts with Defendants twice, i.e., in 1997 and 2000. (Damages Mem. at
1.) It also paid to Defendants at least $22,480,843.82 in fees under those agreements. (Id. at 5.)
The continuance of the 1994 contract for almost three years after the commencement of
Defendants’ fraud was at the very least in connection with, if not caused by, Defendants’ non-
disclosure and concealment of their willful breach of certain promises in that agreement,
including that they would “perform their obligations as a fiduciary to EMC, . . . perform all their
obligations in accordance with applicable laws, . . . use best efforts and due diligence to comply

19
   Defendants’ assertion that EMC itself argues that all compensation it seeks was “caused” by the breach is belied
both by EMC’s Damages Memorandum and the indemnification provision itself, which speak in much broader
terms than causation. (Damages Resp. at 24; Damages Mem. at 17-18.)


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with all applicable regulatory entities, and . . . maintain good standing with all licensing and
accrediting bodies.” (Id. at 2.) EMC’s renewal of the agreement in 1997 and in 2000 and
continued payment of the Defendants’ fees was likewise in connection with that same guarantee.
Were it not for Defendants’ concealment of their willful breach of their promise to operate EMC
in accordance with the laws, Defendants would not have been paid a dime under the contract
after January 1995, and would not have been awarded the contracts in 1997 and 2000. All fees
EMC seeks were therefore “pertaining to or              . . . connected with [Defendants] false statements
or breach of any representation, warranty, covenant, term, or agreement.” (Damages Mem. at
16; SOF1 ¶ 20 (emphasis added).)
         Defendants’ tired “sky is falling” argument that permitting EMC to recover all
management fees paid in connection with Defendants’ willful breach and concealment of that
breach would “rewrite the law of contractual remedies” is rhetoric without substance. (Damages
Resp. at 25.) The argument is entirely contingent upon Defendants’ faulty premise that the
default rules of contract damages apply. EMC cannot possibly be advocating a change in general
contract damages principles where it has made no argument under those principles, but rather has
merely asked this Court to apply the terms of the indemnification provision Defendants
bargained for. (Damages Resp. at 25.)20 Defendants having made no attempt to establish the
ambiguity of any term in that agreement, and this Court having held them in breach, EMC should
recover all that it asked: $22,480,843.82.
         C.       EMC Is Entitled To Recover its Attorneys’ Fees and Expenses.
         The indemnification provision listed attorneys’ fees and expenses among the types of
expenses EMC would be paid upon Defendants’ breach. (Damages Mem. at 18.) As EMC
demonstrated in its opening brief, this Court need only consider whether the amount EMC
requests that it be repaid – $733,892.10 in attorneys’ fees and $264,021.02 in expenses – is
reasonable in relation to the stakes of the case and Defendants’ litigation strategy. (See Damages

20
   Defendants attempt to bolster their illogical argument with a hypothetical example they felt necessary to defend as
neither “absurd nor strained.” Id. It is both. According to Defendants, they are in the position of an innocent
builder who, after contracting to build a house, delivers and is sued for the entire sale price based on nothing more
than a leaky faucet. This is plainly not the case. First, as noted above, the evidence demonstrates that EMC entered
into two of the Management Agreements after Defendants had already covertly begun using EMC to enact their
fraudulent scheme. Second, Defendants’ breach of the agreements was far from minor – it drove EMC out of
business, effacing the entire purpose of the contracts. Thus, even ignoring the fact that Defendants include no
indemnification agreement in their hypothetical, they are more properly akin to a home builder who sells a house
with undisclosed, intentional structural flaws, and who signs the sales contract at the very moment he is flooding the
basement.


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Mem. at 19.) Just as with all their indemnification arguments, Defendants ignore both the plain
language of the agreement as well as the relevant case law.
          First, Defendants argue in a sentence that EMC cannot recover any of its attorneys’ fees
and expenses because it “has offered no analysis or evidence of the actual loss or harm it
sustained.” (Damages Resp. at 27.) Defendants appear to be relying on their previous erroneous
argument that, when determining the amount of compensation paid to Defendants EMC can
recover, it is limited to its “actual loss.” (Damages Resp. at 23-26.) This argument is incorrect
for the reasons stated above. Moreover, it is utterly befuddled in this context. Defendants
agreed to indemnify EMC for “any and all losses, . . . obligations, damages, liabilities, costs and
expenses whatsoever (including without limitation . . . reasonable attorneys’ . . . fees and
expenses).” (Damages Mem. at 18 (quoting SOF1 ¶ 20).) Defendants nowhere explain what the
extent of EMC’s “actual loss[es]” due to Defendants’ breach has to do with whether or not EMC
can recover attorneys fees. Even if one were to accept their argument that EMC is not due all the
forms of compensation for services it seeks from Defendants, it does not follow that EMC may
not recover any of the attorneys fees and expenses it incurred in connection with Defendants’
breach.
          Second, Defendants assert that an award for attorney’s fees would be premature “[u]ntil
this Court makes a ruling on damages and declares its reasons.” (Damages Resp. at 30.) Once
again, Defendants ignore case law cited in EMC’s opening brief holding exactly the opposite.
(Damages Mem. at 18 (citing Lewis X. Cohen Ins. Trust v. Stern, 696 N.E.2d 743, 752 (Ill. App.
Ct. 1998).) In Stern, defendants similarly argued that the consideration of attorneys’ fees under
an indemnification agreement was “ill-suited for determination on summary judgment.” 696
N.E.2d at 233. That court rejected the argument, reasoning that where a court has before it
adequate evidence of the fees, as this Court does, the fact that defendants “simply question[] the
reasonableness of the fees does not create a factual dispute sufficient to preclude summary
judgment.” Id. Moreover, Defendants nowhere explain what efficiency there is to be gained by
this Court first rendering a decision on all other issues raised in EMC’s Damages Motion, and
then separately taking up attorneys fees at a later date. Defendants have raised no issue of
material fact making summary judgment as to fees and expenses inappropriate, and the Court has
all the evidence needed for decision.




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       Finally, Defendants argue that the amount of fees and expenses sought is unreasonable.
(Damages Resp. at 28-29.) In stark contrast to what Defendants characterize as EMC’s “pages
of dense citation and case law” offered to “justify the reasonableness of its fees,” Defendants do
not cite a single case, instead once again embarking on their own free-wheeling analysis. (Id. at
28.) As EMC demonstrated in its opening brief, it is firmly established that where a contract, as
opposed to a fee-shifting statute, provides for the repayment of attorneys’ fees and expenses, a
court need not perform an item-by-item review. (Damages Mem. at 19); see also Berthold Types
Ltd. v. Adobe Sys., Inc. 186 F. Supp. 2d 834, 837 (N.D. Ill. 2002) (following Medcom Holding
Co. v. Baxter Travenol Labs., Inc., 200 F.3d 518, 521 (7th Cir. 1999), in holding that it need not
engage in “‘a detailed, hour-by-hour review’” of attorneys’ fees requested under a contractual
fee-shifting provision ). However, Defendants’ nevertheless challenge the reasonableness of fees
paid for research on “arbitration clauses,” contending that no such issues were raised. (Damages
Resp. at 29.) Even if this Court were to consider line-item challenges, and it clearly need not,
this one misses its mark. Research on the potential that Defendants would seek to arbitrate this
case was necessitated by nothing less than explicit arbitration clauses in all three Management
Agreements, which purported to be triggered by a party’s denial of default. (See August 17,
1994 Hospital Management Agreement at ¶ 7.01 (b) [Pl. Ex. 1] (providing that where a party
denies it is in default of the agreement, “the parties do hereby covenant and agree to submit such
matter to binding arbitration”); August 1, 1997 Amended and Restated Hospital Management
Agreement at ¶ 7.01 [Pl. Ex. 2] (same); March 1, 2000 Hospital Management Agreement at ¶
7.01 [Pl. Ex. 3] (same).)
       EMC further showed that the Seventh Circuit has repeatedly confirmed that the best
indication of the reasonableness of attorneys’ fees and expenses is a client’s payment of those
fees previous to resolution of the dispute. (Damages Mem. at 19-21.) While Defendants admit
that the fees at issue have been paid by Dexia, they ignore the multitude of cases standing for this
proposition, which the Seventh Circuit has recently reaffirmed. See TruServ Corp. v. Flegles,
Inc., 419 F.3d 584, 593 (7th Cir. 2005) (“We also note that ‘courts award fees at the market rate,
and the best evidence of the market value of legal services is what people pay for it. Indeed, this
is not ‘evidence’ about market value; it is market value.’”) (quoting Balcor Real Estate Holdings
v. Walentas-Phoenix Corp., 73 F.3d 150, 153 (7th Cir. 1996)). Rather than discuss the
applicable law, Defendants make the counterintuitive argument that because Sidley Austin LLP



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represents Dexia in other matters related to Defendants’ fraud, its payment of Sidley Austin’s
bills should not create the normal strong inference that those bills are reasonable. This is a
distinction without a difference. From the outset, Dexia’s only opportunity to recover attorneys
fees under the Funding Agreement with EMC has been to prevail in the present case. Motion of
Debtor for Authority to Enter into Agreement for Post-Petition Funding, In re Edgewater
Medical Center, No. 02-07378 (Bankr. N.D. Ill. May 23, 2003) (Entry 498); Order Authorizing
the Debtor to Enter into Agreement for Post-Petition Funding, No. 02-07378 (Bankr. N.D. Ill.
June 25, 2003 (Entry 524). Because Defendants have hotly contested the litigation at every turn,
Dexia has had ample incentive to keep fees low. See, e.g., Medcom, 200 F.3d at 521 (“One
indicator of reasonableness [of attorneys’ fees] is that [the client] paid all of these bills at a time
when its ultimate recovery was uncertain.); see also Knoll Pharm. Co. v. Auto. Ins. Co. of
Hartford, 210 F. Supp. 2d 1017, 1024 (N.D. Ill. 2002) (same).
        Notably, Defendants appropriately decline to argue that the roughly $1 million in fees
and expenses EMC incurred in connection with Defendants’ breach of the agreements is
unreasonable in relation to the stakes in this case, which top $37 million. Nor do Defendants
argue that the fees submitted are insufficiently detailed, or even that their own fees were much
lower. Instead, they contend that the fees are unreasonable insofar as they were paid for
discovery costs which went beyond what Defendants consider to be “essential or reasonable in
terms of prosecuting this adversary proceeding.” (Damages Resp. at 28; see also id. at 29
(challenging fees paid in connection with third-party discovery). This argument fails for two
reasons. First, it impermissibly relies on hindsight. See, e.g., Boss v. Commonwealth Edison
Co., 1995 U.S. Dist. LEXIS 13798, at *4 (N.D. Ill. Sept. 20, 1995) (“[T]he reasonableness of
attorneys’ fees should not be determined on the basis of hindsight vision. Instead, the proper way
to determine reasonable fees is to determine whether or not the actions were reasonable at the
time they were taken.”). EMC could not have known from the outset exactly what quantum of
evidence would be necessary to secure judgment, or what stage – summary judgment or after
trial – the case would be resolved at. Moreover, EMC’s discovery has quite reasonably ranged
beyond matters covered by the current and prior motions for partial summary judgment because,
as that appellation implies, EMC has numerous other claims remaining. Indeed, EMC’s
Complaint contains twelve distinct counts. As Defendants have not gained dismissal of a single




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count, EMC has been entitled to take discovery relating to all of them, not just the three presently
under consideration.
         Second, the cramped argument that EMC should be able to recover only those attorneys’
fees spent on prosecution of its present claims against the Management Companies ignores the
sweeping language of the indemnification provision. That provision does not limit the recovery
of fees to the prevailing party in actions against a breaching party; instead, it allows recovery of
all attorney’s fees and expenses “pertaining to or in any manner connected with any false
statements or breach of any representation, warranty, covenant, term, or agreement of
[Defendants] contained in this Agreement.” 21 The discovery Defendants obliquely refer to,
including that against Fred Cuppy (a Rogan lawyer and former Finance Committee member of
EMC’s former parent), John Tatooles (a Rogan, Braddock L.P., Bainbridge L.P., and EMC
lawyer), the Baudino Law Firm (a former EMC lawyer hired, inter alia, to access the
reasonableness of Defendants’ management fees), Permian (EMC’s parent from August 1994 –
1998), and EMC’s former directors was “connected” to Defendants’ breach of the Management
Agreements. (Damages Resp. at 29.) It arises from EMC’s investigation into the players at
EMC during the fraud period and the persons who worked on behalf of the fraudfeasors
(Braddock L.P. and Bainbridge L.P.) and their principal, Peter Rogan. Because Defendants do
not and cannot contend that fees submitted by EMC relating to third-party discovery were not
incurred “in any manner connected with” the fraudulent scheme Defendants pursued in breach of
the Management Agreements, the argument fails.
         D.       Edgewater Is Entitled To Prejudgment Interest.
         In addition to attorneys’ fees and expenses, the indemnification provision also
specifically requires Defendants to pay EMC interest. (Damages Mem. at 22.) Defendants do
not contest this obligation, but instead only repeat their argument that EMC requests repayment
of fees it paid Defendants which go beyond “the amount necessary to compensate plaintiff for
the harm or loss it has sustained.” (Damages Resp. at 26.) As demonstrated above, pp. 23-27,
supra, this argument requires one to ignore the indemnification provision itself and apply the
background rules of contract damages. Because the indemnification provision encompasses the

21
  That the attorneys fees referred to in this provision go far beyond what is necessary to enforce the agreement is
evidenced by the fact that the contracts contain a separate provision just for enforcement: “should any action be
brought to enforce this Agreement, the prevailing party shall be entitled to its attorney’s fees and costs.” (See, e.g.,
August 1, 1997 Amended and Restated Hospital Management Agreement ¶ 9.17 [Pl. Ex. 2].)


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types of compensation that EMC requests, it should also be awarded $14,156,736.48 in
prejudgment interest. (Damages Mem. at 23.)22
IV.      SUMMARY JUDGMENT SHOULD BE ENTERED AGAINST BRADDOCK L.P.
         FOR THE ADDITIONAL REASON THAT IT FAILED TO RESPOND TO EMC’S
         MOTION.
         Despite the fact that (i) EMC obtained a judgment on liability against Defendants
Braddock L.P., Bainbridge L.P., and Bainbridge Inc. and that (ii) EMC filed its present summary
judgment motion against all three Defendants, only Bainbridge Inc. filed a response in
opposition to EMC’s current motion. (Damages Resp. at 1.) Defendants’ response, which is
explicitly filed only in the name of Bainbridge Inc., asserts that Braddock L.P. did not file a
response to EMC’s summary judgment motion because it was “dissolved by the California
Secretary of State” on November 1, 2004, and therefore “no longer exists.” (Id.)23 However,
that assertion does not relieve Braddock L.P. of its obligation to respond.
         A.       Braddock Was Obligated to Respond to EMC’s Summary Judgment Motion.
         To begin with, Defendants provide absolutely no evidence to establish that Braddock L.P.
actually was dissolved by the California Secretary of State. It is not enough on summary
judgment for Defendants to merely assert that Braddock L.P. was dissolved; rather, Braddock
L.P. was required to provide the Court with admissible evidence of its dissolution. See Fed. R.
Civ. P. 56(e); Michael v. St. Joseph County, 259 F.3d 842, 845 (7th Cir. 2001) (the nonmoving
party must respond to a summary judgment motion with admissible evidence setting forth
specific facts showing that there is a genuine issue for trial).24
         Furthermore, even if Braddock L.P. had presented evidence of its dissolution – which it
did not – Braddock L.P. still would not be relieved of its obligation to respond to EMC’s motion
because a dissolved limited partnership may be held liable for its pre-dissolution activities. See

22
   Defendants concede that the applicable interest rate is 7.0615%. (Damages Mem. at 23; Damages Resp. at 26-27.)
23
   Defendants’ response also states that Bainbridge L.P. did not file a response because it filed for bankruptcy
protection under Chapter 7 on September 28, 2005. (Id.)
24
   Also, according to Defendants’ response, Braddock L.P. was dissolved on November 1, 2004. (Damages Resp. at
1.) Since that time, Braddock L.P. has filed numerous pleadings in this adversary proceeding (as well as the Dexia
litigation pending in the District Court), including several motions seeking an extension of time in which to respond
to EMC’s current motion. (See, e.g., Court’s Docket at 94, 99, 100.) By actively participating in this litigation for
nearly a year after it was purportedly dissolved, Braddock L.P. has waived any argument that it is under no
obligation to do so now as a result of its dissolution. C.f. Continental Bank, N.A. v. Meyer, 10 F.3d 1293, 1297 (7th
Cir. 1993) (defendants waived argument that court lacked personal jurisdiction where they had participated in
litigation of the merits); Cabinetree of Wisconsin, Inc. v. Kraftmaid Cabinetry, 50 F.3d 388, 390 (7th Cir. 1995)
(proceeding with litigation in court serves as presumptive waiver of right to arbitrate).


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Peñasquitos, Inc. v. Superior Ct., 53 Cal. 3d 1180, 1184-94 (Cal. 1991) (holding that a dissolved
corporation may be sued and held liable for its pre-dissolution activities, because dissolution
prevents the corporation from “doing business as a going concern” and defending a claim is part
of the termination process rather than an attempt to do business as a going concern); Robert L.
Rentto Prof’l Law Corp. v. Four Seasons No. 1500, LTD, 2005 WL 2767186, at *3 (Cal. Ct.
App. Oct. 26, 2005) (extending the principle of Peñasquitos to dissolved limited partnerships).
        B.      By Failing to Respond to EMC’s Motion, Braddock L.P. Has Effectively
                Admitted that There Are No Genuine Issues of Material Fact Preventing
                Summary Judgment.
        By failing to timely respond to EMC’s motion for summary judgment, Braddock L.P. has
waived its right to respond and has admitted that there are no genuine issues of material fact
preventing judgment in EMC’s favor. See United States v. Kasuboski, 834 F.2d 1345, 1351 (7th
Cir. 1987) (“The defendants, by failing to timely file a resistance or to receive an extension,
waived their right to respond to the government's motion for summary judgment.”); Flynn v.
Sandahl, 58 F.3d 283, 288 (7th Cir. 1995) (effect of failing to respond to motion for summary
judgment is that “it constitutes an admission by the non-movant that there are no disputed issues
of genuine fact warranting a trial”); Grant v. Coken Co., 2004 U.S. Dist. LEXIS 18421, at *6
(N.D. Ill. Sept. 14, 2004) (“[W]hen a party fails to respond to a motion for summary judgment,
as in this case, its failure constitutes the admission that there are no genuine issues of material
fact warranting a trial.”)
        C.      Alternatively, At a Minimum, Braddock L.P. Is Bound to the Same Extent as
                Its General Partner, Bainbridge Inc.
        While Defendants’ response explicitly is filed only in the name of Bainbridge Inc.,
Defendants make the cryptic assertion that, because “Bainbridge Inc. was Braddock L.P.’s
general partner,” Bainbridge Inc. “will speak to Edgewater’s Motion to the extent that it seeks
relief from Braddock L.P.” (Damages Resp. at 1.) Defendants are merely playing word games.
While the meaning of this statement is unclear, it appears that Defendants are trying to create a
loophole by expressly filing the response only in Bainbridge Inc.’s name, but then hedging their
bets by vaguely asserting that Bainbridge Inc. will “speak” to the motion on Braddock L.P.’s
behalf. That attempt should be rejected. Defendants cite no authority for the proposition that
where, as here, a limited partnership and its general partner are both named as defendants, the
limited partnership is under no obligation to respond to a motion for summary judgment because



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 the general partner can “speak” to the motion. As such, the Court should construe Braddock
 L.P.’s failure to respond as a tacit admission that there are no genuine issues of material fact.
 However, if the Court accepts Defendants’ cryptic assertion, then, at a minimum, the Court
 should hold Braddock L.P. liable to the same extent as its general partner, Bainbridge Inc.25
                                                 CONCLUSION
          For the reasons set forth herein and in EMC’s opening brief, EMC respectfully requests
 that this Court grant its Motion for Partial Summary Judgment.


                                                                Respectfully submitted,

 Dated: January 9, 2006                                         EDGEWATER MEDICAL CENTER
                                                                Debtor/Plaintiff

                                                                By: /s/ Eric J. Pearson
                                                                    One of its attorneys

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Medical Center                                                 Edgewater Medical Center




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   Also, by purporting to “speak” on behalf of Braddock L.P., Bainbridge Inc. has acknowledged its liability for that
 entity. (Damages Resp. at 1.) As this Court already has held, “Bainbridge Inc., as the general partner of both
 Bainbridge L.P. and Braddock, is fully liable to EMC as a matter of law.” (4/6/05 Mem. Op.)


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                                CERTIFICATE OF SERVICE

               I, Eric J. Pearson, an attorney, do hereby certify that on this 9th day of January
2006, I caused a true and correct copy of the foregoing Plaintiff Edgewater Medical Center’s
Reply Memorandum in Further Support of its Motion for Partial Summary Judgment on
Forfeiture of Compensation, Attorneys’ Fees and Prejudgment Interest to be served by
electronic mail upon the attorneys listed below.

                                                     /s/ Eric J. Pearson
                                                      Eric J. Pearson


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